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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                               Chapter 7

143-30 SANFORD AVE LLC,                                              Case No.: 23-43812-nhl

                           Debtor.
--------------------------------------------------------x

                                     AFFIRMATION OF SERVICE

       NINA PROCTOR, ESQ., an attorney admitted to practice before this Court, being duly
sworn, deposes and says:

       I certify that on August 6, 2024, I served copies of ECF No. 30, OBJECTION OF
CHAPTER 7 TRUSTEE TO DEBTOR’S MOTION TO DISMISS CASE PURSUANT TO 11
U.S.C. § 707(A), by e-mail upon the attorneys/parties listed below at the e-mail addresses listed.

TO:     Clifford B. Olshaker, Esq.
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        Office of the United States Trustee
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Dated: August 6, 2024

                                          s/ Nina Proctor
                                          Nina Proctor
